              Case 2:12-cr-00049-WBS Document 158 Filed 09/07/17 Page 1 of 3


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 5
   Attorneys for Plaintiff
 6 United States of America

 7
                                    IN THE UNITED STATES DISTRICT COURT
 8
                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                             CASE NO. 2:12-CR-00049 GEB
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                                      Plaintiff,           AMENDED STIPULATION AND JOINT
12                                                         REQUEST TO CONTINUE JUDGMENT AND
                              v.                           SENTENCING DATE; PROPOSED ORDER
13
     MICHELLE TROUNG,
14
                                      Defendant.
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16
                                                       STIPULATION
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             Plaintiff United States of America, by and through its counsel of record, and defendant Michelle
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     Troung, by and through his counsel of record, hereby stipulate and respectfully request as follows:
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             1.     By previous order, this matter was set for judgment and sentencing on September 8,
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     2017.
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             2.     By this stipulation, the parties jointly request that this matter be continued for judgment
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     and sentencing to December 15, 2017 at 9:00 a.m.
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             3.     Because the defendant stands convicted based on her plea of guilty, the provisions of the
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     Speedy Trial Act, 18 U.S.C.§ 3161, et seq., are inapplicable to this continuance.
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     Amended Stipulation for Continuance to Continue        1
     Judgment and Sentencing Date; Proposed Order
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              Case 2:12-cr-00049-WBS Document 158 Filed 09/07/17 Page 2 of 3


 1          IT IS SO STIPULATED.

 2 DATED: September 6, 2017                            PHILLIP A. TALBERT
                                                       United States Attorney
 3
                                                       /s/ Todd A. Pickles
 4                                                     TODD A. PICKLES
                                                       Assistant United States Attorney
 5
                                                       For the UNITED STATES OF AMERICA
 6

 7 DATED: September 6, 2017
                                                       /s/ Todd A. Pickles for
 8                                                     PAUL DENNISON, ESQ.
 9                                                     For defendant MICHELLE TROUNG
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     Amended Stipulation for Continuance to Continue   2
     Judgment and Sentencing Date; Proposed Order
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              Case 2:12-cr-00049-WBS Document 158 Filed 09/07/17 Page 3 of 3


 1                                               [PROPOSED] ORDER

 2          For good cause showing, the Court hereby continues the Judgment and Sentencing in this matter

 3 to December 15, 2017, at 9:00 a.m.

 4          IT IS SO ORDERED.

 5          Dated: September 6, 2017

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     Amended Stipulation for Continuance to Continue    3
     Judgment and Sentencing Date; Proposed Order
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